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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

The Board of Trustees of The University of Illinois
                                                      Plaintiff,
v.                                                                     Case No.:
                                                                       1:21−cv−06546
                                                                       Honorable John
                                                                       Robert Blakey
Vintage Brand, LLC, et al.
                                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, March 17, 2023:


         MINUTE entry before the Honorable John Robert Blakey: The Court grants the
parties' joint motion to vacate and stay [127], vacates the current case management
schedule, see [126], and strikes the 3/22/23 Notice of Motion date. The Court will set
revised case management dates when it rules on the pending motions [68], [85], and [93].
Mailed notice(gel, )




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